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   United States of America
 7

 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                      EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:12-CR-364 GEB
12                                 Plaintiff,            STIPULATION CONTINUING DATE FOR
                                                         JUDGMENT AND SENTENCING, [PROPOSED]
13                          v.                           ORDER
14   SIMEON GREGORY,                                     DATE: August 22, 2014
     TERRANCE SMALLS,                                    TIME: 9:00 a.m.
15                                                       COURT: Hon. Garland E. Burrell, Jr.
                                  Defendants.
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17
                                                 STIPULATION
18
            1.      By previous order, this matter was set for status of judgment and sentencing on August
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     22, 2014, as to both Gregory and Smalls.
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            2.      By this stipulation, defendants now move to continue judgment and sentencing until
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     October 3, 2014.
22
            3.      The parties agree that the final pre-sentence report as to defendant Smalls shall be filed
23
     no later than August 25, 2014.
24
            4.      The parties agree that informal objections to the draft pre-sentence reports are due no
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     later than September 5, 2014; that the final pre-sentence reports be filed no later than September 12,
26
     2014, that any formal objections to the pre-sentence reports be filed no later than September 19, 2014,
27
     and that any reply to formal objections be filed no later than September 26, 2014.
28

      STIPULATION RE: CONTINUANCE OF JUDGMENT AND         1
30    SENTENCING; [PROPOSED] ORDER
             Case 2:12-cr-00364-GEB Document 140 Filed 08/21/14 Page 2 of 2


 1         IT IS SO STIPULATED.

 2
     Dated: August 20, 2014                             BENJAMIN B. WAGNER
 3                                                      United States Attorney
 4
                                                        /s/ JARED C. DOLAN
 5                                                      JARED C. DOLAN
                                                        Assistant United States Attorney
 6

 7

 8

 9 Dated: August 20, 2014                               /s/ Jeff Staniels
                                                        JEFF STANIELS
10
                                                        Counsel for Defendant
11                                                      SIMEON GREGORY

12
     Dated: August 20, 2014                             /s/ Steve Plesser
13                                                      STEVE PLESSER
                                                        Counsel for Defendant
14                                                      TERRANCE SMALLS
15

16

17
                                  [PROPOSED] FINDINGS AND ORDER
18
           IT IS SO FOUND AND ORDERED.
19
     Dated: August 20, 2014
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      STIPULATION RE: CONTINUANCE OF JUDGMENT AND   2
30    SENTENCING; [PROPOSED] ORDER
